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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

HOWARD COHAN, CASE NO.:
Plaintiff,

vs. INJUNCTIVE RELIEF SOUGHT

JERRY’S ART SUPPLY WAREHOUSE WPB LLC

Defendant(s)

COMPLAINT

Plaintiff, HOWARD COHAN (“Plaintiff”), by and through the undersigned
counsel, hereby files this Complaint and sues JERRY’S ART SUPPLY WAREHOUSE
WPB LLC, (“Defendant”), for declaratory and injunctive relief, attorney’s fees,
expenses and costs (including, but not limited to, court costs and expert fees)
pursuant to 42 U.S.C. § 12182 et. seq., and the 2010 Americans with Disabilities
Act (“ADA”) and alleges as follows:

JURISDICTION AND VENUE

1. This Court is vested with original jurisdiction over this action pursuant
to 28 U.S.C. §§ 1331, 343 for Plaintiff’s claims arising under Title 42 U.S.C. §
12182 et. seq., based on Defendant’s violations of Title III of the ADA. See also,
28 U.S.C. §§ 2201, 2202, as well as the 2010 ADA Standards.

2. Venue is proper in this Court, Southern District of Florida, Palm Beach
Division, pursuant to 28 U.S.C. §1391(B) and the Internal Operating Procedures for
the United States District Court for the Southern District of Florida in that all events

giving rise to the lawsuit occurred in West Palm Beach, Florida.
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PARTIES

3. Plaintiff, HOWARD COHAN is sui juris and is a resident of the State of
Florida residing in Palm Beach County, Florida.

4. Upon information and belief, Defendant is the lessee, operator, owner
and/or lessor of the Real Property, which is subject to this suit, and is located at
2505 Q Okeechobee Blvd., West Palm Beach, Florida 33409 (“Premises”), and is the
owner of the improvements where Premises is located.

5, Defendant is authorized to conduct, and is in fact conducting, business
within the state of Florida.

6. Plaintiff is an individual with numerous disabilities including spinal
stenosis, which causes a restriction to his spinal canal, resulting in a neurological
deficit. At the time of Plaintiff’s visit to the Premises on September 11, 2016 (and
prior to instituting this action), Plaintiff suffered from a “qualified disability” under
the ADA, and required the use of bathroom facilities, a continuous path of travel
connecting all essential elements of the facility and the use of other means of
accessibility for persons with disabilities. Plaintiff personally visited the Premises,
but was denied full and equal access and full and equal enjoyment of the facilities,
services, goods, and amenities within the Premises, even though he would be
classified as a “bona fide patron”.

7. Plaintiff will avail himself of the services offered at the Premises in the
future, provided that Defendant modifies the Premises or modifies the policies and

practices to accommodate individuals who have physical disabilities.
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8. Completely independent of the personal desire to have access to this
place of public accommodation free of illegal barriers to access, Plaintiff also acts as
a “tester” for the purpose of discovering, encountering and engaging discrimination
against the disabled in public accommodations. When acting as a “tester”, Plaintiff
employs a routine practice. Plaintiff personally visits the public accommodation;
engages all of the barriers to access, or at least of those that Plaintiff is able to
access; tests all of those barriers to access to determine whether and the extent to
which they are illegal barriers to access; proceeds with legal action to enjoin such
discrimination; and subsequently returns to Premises to verify its compliance or
non-compliance with the ADA and to otherwise use the public accommodation as
members of the able-bodied community are able to do. Independent of other
subsequent visits, Plaintiff also intends to visit the Premises regularly to verify its
compliance or non-compliance with the ADA, and its maintenance of the accessible
features of Premises. In this instance, Plaintiff, in Plaintiff's individual capacity and
as a “tester”, visited Premises, encountered barriers to access at Premises, and
engaged and tested those barriers, suffered legal harm and legal injury, and will
continue to suffer such harm and injury as a result of the illegal barriers to access
and the ADA violations set forth herein. It is Plaintiff’s belief that said violations will
not be corrected without Court intervention, and thus Plaintiff will suffer legal harm

and injury in the near future.

VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

9. Plaintiff adopts and re-alleges the allegations stated in paragraphs 1

through 8 above as if fully stated herein.
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10. On July 26, 1990, Congress enacted the Americans With Disabilities
Act ("ADA”)), 42 U.S.C. § 12101 et. seq. Commercial enterprises were provided one
and a half (1.5) years from enactment of the statute to implement __ its
requirements. The effective date of Title III of the ADA was January 26, 1992, or
January 26, 1993 if Defendant(s) have ten (10) or fewer employees and gross
receipts of $500,000.00 or less. See 42 U.S.C. § 12182; 28 C.F.R. § 36.508(a).

11. As stated in 42 U.S.C § 12101(a)(1)-(3),(5) and (9) Congress found,

among other things, that:

a. some 43,000,000 Americans have one or more physical or mental
disabilities, and this number shall increase as the population continues
to grow older;

b. historically, society has tended to isolate and segregate individuals
with disabilities and, despite some improvements, such forms of
discrimination against disabled individuals continue to be a pervasive
social problem, requiring serious attention;

c. discrimination against disabled individuals persists in such critical
areas as employment, housing, public accommodations,
transportation, communication, recreation, institutionalization, health
services, voting and access to public services and public facilities;

d. individuals with disabilities continually suffer forms of discrimination,
including outright intentional exclusion, the discriminatory effects of
architectural, transportation, and communication barriers, failure to

make modifications to existing facilities and practices. Exclusionary
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qualification standards and criteria, segregation, and regulation to
lesser services, programs, benefits, or other opportunities; and,

e. the continuing existence of unfair and unnecessary discrimination and
prejudice denies people with disabilities the opportunity to compete on
an equal basis and to pursue those opportunities for which our country
is justifiably famous, and accosts the United States billions of dollars in
unnecessary expenses resulting from dependency and _ non-
productivity.

12. As stated in 42 U.S.C. § 12101(b)(1)(2) and (4) Congress explicitly

stated that the purpose of the ADA was to:

a. provide a clear and comprehensive national mandate for elimination of
discrimination against individuals with disabilities;

b. provide clear, strong, consistent, enforceable standards addressing
discrimination against individuals with disabilities; and

c. invoke the sweep of congressional authority, including the power to
enforce the fourteenth amendment and to regulate commerce, in order
to address the major areas of discrimination faced on a daily basis by
people with disabilities.

13. Pursuant to 42 U.S.C. § 12182(7), 28 C.F.R. § 36.104 and the 2010
ADA Standards, Defendant’s Premises is a place of public accommodation covered
by the ADA by the fact it provides services to the general public and must be in
compliance therewith. The building and/or Premises, which is the subject of this
action, is a public accommodation covered by the ADA and which must be in

compliance therewith.
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14. Defendant has discriminated and continues to discriminate against
Plaintiff and others who are similarly situated, by denying access to, and full and
equal enjoyment of goods, services, facilities, privileges, advantages and/or
accommodations located at the Premises, as prohibited by 42 U.S.C. § 12182 and
42 U.S.C. § 12101 et. seq., and by failing to remove architectural barriers pursuant
to 42 U.S.C. § 12182(b)(2)(A)(iv).

15. Plaintiff has visited Premises, and has been denied full and safe equal
access to the facilities and therefore suffered an injury in fact.

16. Plaintiff would like to return and enjoy the goods and/or services at
Premises on a spontaneous, full and equal basis. However, Plaintiff is precluded
from doing so by the Defendant’s failure and refusal to provide disabled persons
with full and equal access to their facilities. Therefore, Plaintiff continues to suffer
from discrimination and injury due to the architectural barriers that are in violation
of the ADA.

17. Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,
the Department of Justice, Officer of the Attorney General promulgated Federal
Regulations to implement the requirements of the ADA. See 28 C.F.R. § 36 and its
successor the 2010 ADA Standards ADA Accessibility guidelines (hereinafter
referred to as “ADAAG”), 28 C.F.R. § 36, under which said Department may obtain
civil penalties of up to $55,000.00 for the first violation and $110,000.00 for and

subsequent violation.
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18. Defendant is in violation of 42 U.S.C. § 12182 et. seq. and the 2010
American Disabilities Act Standards et. seq., and is discriminating against Plaintiff
as a result of, inter alia, the following specific violations in men’s restroom:

a. Failure to provide sufficient clear floor space around a water closet
without any obstructing elements in this space in violation of 2010
ADAAG §§ 4.22, 603, 603.2.2, 604, 604.3 and 604.3.1.

b. Failure to provide the proper spacing between a grab bar and an
object projecting out of the wall in violation of 2010 ADAAG §§ 604,
604.5, 604.5.1, 604.5.2, 609 and 609.3.

c. Providing grab bars of improper horizontal length or spacing on the
back or side wall in violation of 2010 ADAAG §§ 604, 604.5, 604.5.1,
604.5.2, 609 and 609.4.

d. Failure to provide grab bars at 33 inches minimum and 36 inches
maximum above the finished floor measured to the top of the gripping
surface in violation of 2010 ADAAG §§ 604, 609 and 609.4.

e. Failure to provide toilet paper dispensers in the proper position in front
of the water closet or at the correct height above the finished floor in
violation of 2010 ADAAG §§ 604, 604.7 and 309.4.

f. Failure to provide paper towel dispenser at the correct height above
the finished floor in violation of 2010 ADAAG §§ 606, 606.1 and 308.

g. Failure to provide flush controls shall be located on the open side of
the water closet in violation of 2010 ADAAG §§ 604 and 604.6.

h. Failure to provide the water closet seat at the correct height above the

finished floor in violation of 2010 ADAAG §§ 604 AND 604.4.
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19. To the best of Plaintiff's belief and knowledge, Defendant has failed to
eliminate the specific violations set forth in paragraph 18 herein.

20. Although Defendant is charged with having knowledge of the
violations, Defendant may not have actual knowledge of said violations until this
Complaint makes Defendant aware of same.

21. To date, the readily achievable barriers and other violations of the ADA
still exist and have not been remedied or altered in such a way as to effectuate
compliance with the provisions of the ADA.

22. Pursuant to the ADA, 42 U.S.C. § 12101 et. seq., and 28 C.F.R. §
36.304, the Defendant was required to make the establishment a place of public
accommodation, accessible to persons with disabilities by January 28, 1992. As of
the date of the filing of this Complaint, Defendant has failed to comply with this
mandate.

23. Plaintiff has retained the undersigned counsel for the filing and
prosecution of this action. Plaintiff is entitled to have his reasonable attorney's
fees, costs and expenses paid by Defendant, pursuant to 42 U.S.C § 12205.

24. All of the above violations are readily achievable to modify in order to
bring Premises or the Facility/Property into compliance with the ADA.

25. In instance(s) where the 2010 ADAAG standard does not apply, the
1991 ADAAG standard applies and all of the violations listed in paragraph 18 herein
can be applied to the 1991 ADAAG standards.

26. Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority
to grant Plaintiff’s injunctive relief, including an order to alter the subject facility to

make them readily accessible to and useable by individuals with disabilities to the
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extent required by the ADA and closing the Subject Facility until the requisite
modifications are completed.

WHEREFORE, Plaintiff demands judgment against Defendant and requests the
following injunctive and declaratory relief:

1. That this Court declares that Premises owned, operated and/or
controlled by Defendant is in violation of the ADA;

2. That this Court enter an Order requiring Defendant to alter their
facilities to make them accessible to and usable by individuals with
disabilities to the full extent required by Title III of the ADA;

3. That this Court enter and Order directing the Defendant to evaluate
and neutralize their policies, practices and procedures toward persons
with disabilities, for such reasonable time so as to allow the Defendant
to undertake and complete corrective procedures to Premises;

4. That this Court award reasonable attorney’s fees, all costs (including,
but not limited to the court costs and expert fees) and other expenses
of suit to the Plaintiff; and,

5. That this Court award such other and further relief as it may deem

necessary, just and proper.
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Dated this 26", day of October, 2016.

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